 

Case 2:05-cr-20204-.]DB Document 26 Filed 06/21/05 Page 1 of 2 Page|D 51

]Fl!.ED BY 7¢_ ` D'C_
IN THE UNITED S'I`ATES DISTRICT COURT

FoR THE wEsTERN DISTRICT - 05 JUN 21 ns 1 '

AT MEMPHIS `

ROEERT` R. DF` TFIOLI
CLEF€`K, U.S. DIST. C`l{'.z '

UNITED STATES OF AM'ER]CA § WD_ OF_. ml MEMPH'S
) Case No. 05-CR-20204-1-B-V

vs. )
)
)

WARD CRUTCHFIELD )

ORDER

Upon motion of Ward Crutchtield, by and through eounsel, requesting that his
appearance at the June 22, 2005, report date be waived and that his attorneys be permitted to
participate at said report hearing via telephone conferen_ce, good cause having been shown and
no objection thereto having been made, it is so ORDERED.

ENTERED this 20 day Of._rune, 2005 _

l@'rslc'r JUDGE DANIEL BREEN

 

APPROVED FOR ENTRY:

FARMER & LUNA, PLLC

By:§;;\_z,@

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Honorable J. Breen
US DISTRICT COURT

